         Case 1:17-cv-00246-MW-GRJ Document 109 Filed 04/09/19 Page 1 of 2
                 Case: 19-10988 Date Filed: 04/09/2019 Page: 1 of 2


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                   For rules and forms visit
Clerk of Court                                                                   www.ca11.uscourts.gov


                                         April 09, 2019

Clerk - Northern District of Florida
U.S. District Court
401 SE 1ST AVE STE 243
GAINESVILLE, FL 32601-6895

Appeal Number: 19-10988-HH
Case Style: Kevin Folta v. The New York Times Company, et al
District Court Docket No: 1:17-cv-00246-MW-GRJ

The enclosed copy of the Clerk's Entry of Dismissal pursuant to appellant's motion to dismiss is
issued as the mandate of this court. See 11th Cir. R. 42-1(a).

Sincerely,

DAVID J. SMITH, Clerk of Court

Reply to: Christopher Bergquist, HH
Phone #: 404-335-6169

Enclosure(s)
     Case 1:17-cv-00246-MW-GRJ Document 109 Filed 04/09/19 Page 2 of 2
             Case: 19-10988 Date Filed: 04/09/2019 Page: 2 of 2


                     IN THE UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT

                                     ______________

                                     No. 19-10988-HH
                                     ______________

KEVIN FOLTA,
Ph.D. Professor and Chair Horticultural
Sciences Department University of Florida
Gainesville FL 32611,

                                                Plaintiff - Appellant,

versus

THE NEW YORK TIMES COMPANY,
ERIC LIPTON,
Washington DC 20016,

                                           Defendants - Appellees.
                     __________________________________________


                        Appeal from the United States District Court
                            for the Northern District of Florida
                     __________________________________________

ENTRY OF DISMISSAL: Pursuant to Appellant Kevin Folta's motion for voluntary dismissal,
FRAP Rule 42 and 11th Cir. R. 42-1(a), the above referenced appeal was duly entered
dismissed on this date, effective April 09, 2019.

                                     DAVID J. SMITH
                          Clerk of Court of the United States Court
                             of Appeals for the Eleventh Circuit

                        by: Christopher Bergquist, HH, Deputy Clerk

                                                       FOR THE COURT - BY DIRECTION
